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                           MDL 2327 - EXHIBIT A

                            Originating       Originating     SDWV – MDL
         Plaintiffs          District          Case No.      Member Case No.

                          Missouri Eastern     4:15-cv-34       2:15-cv-880
Pamela Holliday
Kathleen Walsh
Phyliss Clark
Agnes Crayton
Bobbi Flores
Nancy Curran
Lorraine Daidone
Deborah Morgan
Linda Rokicki
Candace Regalado
Lynda Williams
Desiree Harris
Anita Bockmon
Melinda Strauss
Susan Elliott
Susan Bryant
Elizabeth Meyer
Etta Galer
Carol Gartside
Pamela Russell
Laurie Clements
Stephanie Brown
Bonnie Sanders
Maria Medley
Michelle Ware
Belinda Hopson
Gail O’Bier
Diedre Wagner
Billie Waters
Erica Guajardo
Ronnie Gornbein-Shirley
Jerry Shirley
April Haney
Christie Malone
Jessica Tellez
Joan Skinner
Esther Hernandez
Karolyn Bear
Diana Bright
Sarah Williamson
Marie Roberts
Marion Morris
Johnny Morris
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                            Originating       Originating     SDWV – MDL
         Plaintiffs          District          Case No.      Member Case No.

                          Missouri Eastern     4:15-cv-34       2:15-cv-880
Patricia Neville
Jerry Neville
Stacy Watkins
Martha Gauer
Jonnie Maughan
Brenda Taylor
Denise Atkins
Karen Testerman
Trisha Hattery
Linda Wingler
Gloria Fisher
Martha Brown
Crystal Copley
Lillian Haigis
Brenda Sanchez
Frieda Bunn
Patricia Flynn
Eilene Keener
Lola Huckins
